Case 4:15-cv-00731-TCK-FHM Document 66 Filed in USDC ND/OK on 05/10/17 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

   1. MALLORIE HAMLIN, an individual                     )
                                                         )
                          Plaintiff,                     )
   v.                                                    )       Case No. 15-CV-731-TCK-PJC
                                                         )
   1. SMG HOLDINGS, INC.,                                )
   a domestic limited liability company,                 )
                                                         )
                                                         )
                          Defendant.                     )

                                   STIPULATION OF DISMISSAL

          Pursuant to Rule 41(a)(1)(A)(ii), Plaintiff, Mallorie Hamlin, and           Defendant, SMG

   Holdings, Inc., being all parties who have appeared, stipulate to the dismissal with prejudice of this

   action and all claims and causes of action asserted therein, with each party bearing its own attorney

   fees and costs.

          Dated this 10th day of May, 2017.

                                                  Respectfully Submitted,

                                                  /s/ Charles C. Vaught
                                                  Signed by filing attorney with
                                                  permission from Charles C. Vaught
                                                  Charles C. Vaught, OBA #19962
                                                  ARMSTRONG & VAUGHT, P.L.C.
                                                  2727 E. 21st Street, Suite 505
                                                  Tulsa, OK 74114
                                                  (918) 582-2500
                                                  (918) 583-1755 Facsimile
                                                  cvaught@a-vlaw.com
                                                  Attorneys for Plaintiff

                                                  /s/Courtney D. Powell
                                                  Courtney D. Powell, OBA #19444
                                                  Shannon F. Davies, OBA #13565
                                                  Spencer Fane, LLP

                                                   1
Case 4:15-cv-00731-TCK-FHM Document 66 Filed in USDC ND/OK on 05/10/17 Page 2 of 2




                                      9400 N. Broadway Extension
                                      Suite 600
                                      Oklahoma City, Oklahoma 73114-7423
                                      405-844-9900
                                      405-844-9958 Facsimile
                                      cpowell@spencerfane.com
                                      sdavies@spencerfane.com
                                      Attorneys for Defendant




                                       2
